Case 1:04-cv-Ol287-.]DT-STA Document 22 Filed 05/25/05 Page 1 0% Page|D 21
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IN THE UNITED STATES DISTRICT COURT OSA!’A

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FOR THE WESTERN DISTRICT OF TENNESSF_.`.E 5 4
WESTERN DIVISION _5;.1};` i?.'j

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MARY BETH FLoWERs, ) Q<`§VU.S ;:);L;,‘Q@
Plaintifr, ) O/l/
)
v. ) No. 04-1287 T/An
)
MEMPHIS sLEEP LABS, INC., )
d/b/a MID-SOUTH sLEEP DISoRDER )
CLINIC, )
)
Defendaot. )

 

ORDER GRANTING MOTION TO AMEND ANSWER

 

Before the Court is Defendant’s Motion to Amend Answer filed on April 22, 2005. For
the reasons set forth below, the Motion is GRANTED.

A pleading may be amended “only by leave of court . . . and leave shall be freely given
When justice so requires.” Fed. R. Civ. P. lS(a). “ln deciding Whether to allow an amendment,
the court should consider the delay in iiling, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amcndments, undue prejudice
to the opposing party, and futility of amendment.” Perkz`ns v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001). After review, the Court can see no reason why the

amendment Should not be allowed.1

 

lWhile Defendant failed to file a Memorandum of Law as required by Local Rule 7.2, the Court has
reviewed the Motion and Amended Answer and concludes good cause has been shown.

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Case 1:04-cv-Ol287-.]DT-STA Document 22 Filed 05/25/05 Page 2 of 3 Page|D 22

Moreover, Plaintiff did not respond to the instant motion as required by Local Rule
7.2(a)(2). “Failure to timely respond to any motion, other than one requesting dismissal of a
claim or action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2).
As such, for good cause shown and because Plaintiff did not respond, the Motion is GRANTED.

The Clerk is directed to file the Amended Answer filed contemporaneously with Defendant’s

Motion to Amend Answer.

IT IS SO ORDERED.

C§f'/z;m /Ma,n

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 977/93 2§€ ZOQS'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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Honcrable J ames Tcdd
US DISTRICT COURT

